                Case 1:19-mj-00443-MSN Document 5 Filed 10/10/19 Page 1 of 1 PageID# 5

AO 466A(Rev. 12/09) Waiver of Rule .S & 5.1 Heating."!(Complaini or Indictmenl)

                                       UNITED States District Coi
                                                                         for the

                                                           Eastern District of Virginia

                  United Slates of America
                                 V.
                                                                                   Case No.



      1                                                                            Charging District's Case No.
          ^                  Defendant

                                                  WAIVER OF RULE 5 & 5.1 HEARINGS
                                                            (Complaint or Indictment)                Sou"VKpm
           1 understand that I have been charged in another district, the (name ofother court)

          [ have been informed of the charges and of my rights to;
          (1)         retain counsel or request the assignment of counsel if I am unable to retain counsel,
          (2)         an identity hearing to determine whether I am the person named in the charges;
           (3)        production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
           (4)        a preliminary hearing within 14 days of my first appearance if 1 am in custody and 21 days otherwise
                                                                                                                   : has   —
                      unless 1 am indicted — to determine whether there is probable cause to believe that an offense 1
                      been committed;

           (5)        a hearing on any motion by the government for detention,
           (6)        request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.
            I agree to waive my right(s) to:
                       an identity hearing and production of the warrant,
            □          a preliminary hearing,
            □          a detention hearing.

            □          an identity hearing, production of the warrant, and any preliminary or detention hearing to which 1 may
                       be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                        by that court.

            I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
  pending against me.


  Date:       io/to/^8q                                                                        defendant's sij   mri




                                                                                        SignatureVfaefen^nt s attorney


                                                                                                    ofdefendati/ 's attorney
                                                                                       Printed name ofdefendatv
